Case 8:

20

21

22

23

24

25

26

27

23

17-cv-00608-.]LS-KES Document35 Filed

Daniel A. De Soto (SBN 205861)

LAW OFFICE OF DANIEL A. DE SOTO
619 South Olive Street, Ste 400

L0s Angeles, CA 90014

Telephone: §323§ 743-8995

Facslmile: 323 837-4766

dewfOZ§gQ_/_fisiégav_rldz_wm

Attomey for Defendant Timothy Glen Curry

CHRIS PRINCIPE,
Plaintiff,

VS.

TIMOTHY GLEN CURRY A/K/A
TIMOTHY TAYSHUN,

Defendant.

11/13/17 Page 1 of 5 Page |D #:249

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Case No: 8:17-cV-00608

DECLARATION OF TOMMY
HOGBACK IN SUPPORT OF
DEFENDANT TIMOTHY GLEN
CURRY’S OPPOSITION TO
PLAINTIFF’S MOTION FOR
PRELIMINARY INJUNCTION

DATE: December 1 , 2017
TIME: 2:30 p.m.
CTRM: 10 A

Hon. Josephine L. Staton

 

 

l

 

 

 

BECLARATION OF TOMMY HOEEACK IN SUPPORT OF TIMOTHY GLEN CURRY’S
OPPOSITION TO PLAINITFF’S MOTION FOR PRELlMINARY INJUNCTION

 

Case §

17

18

19

20

21

22

23

24

25

26

2?

28

 

 

17-cv-00608-.]LS-KES Document 35 Filed 11/13/17 Page 2 of 5 Page |D #:250

DECLARATION OF TOMMY HOGBACK

I, Tommy Hogback, declare:

I am a resident of the country of Finland and am over the age of 18. The
facts stated in this declaration are Within my personal knowledge, except those
stated to be on information and belief, and, if called upon, I could and would
competently testify to them.

l. I am a victim of the fraud perpetrated by OneCoin, and lost £1,000
that I invested into OneCoin, Which presented itself as a cryptocurrency investment
opportunity, among other things.

2. At first OneCoin looked very promising There Was clever marketing
such as a fake Forbes magazine cover featuring OneCoin’s founder, Ruja Ignatova,
as Well as a Financial IT magazine cover, Which is Chris Principe’s magazine
There Was also on camera and onstage endorsements of OneCoin by people
represented to be “flnancial professionals,” including Chris Principe. Mr. Principe
represented that OneCoin Was a sound investment and that potential investors such
as myself should invest in it. This was done in videos presented by OneCoin, and
in stage appearances by Mr. Principe made on behalf of OneCoin, His promotion
of OneCoin bolstered the illusion that OneCoin Was a safe and legitimate
investment opportunity.

3. Since my involvement by With OneCoin, I have intense researched its

history, background, leaders and how it Works. I have learned that the founders of

 

2
DECLARATION OF TOMMY HOGBACK lN SUPPORT OF TIMOTHY GLEN CU RRY'S
OPPOSITION TO PLAINITFF’S MOTION FOR PRELIMINARY INJUNCTION

 

Case 8

18
19
20
21
22
23
24
25
26
27

28

 

l7-cV-00608-.]LS-KES Document 35 Filed 11/13/17 Page 3 of 5 Page |D #:251

OneCoin (and its associated enterprises OneLife and OneNetwork), are persons
that have committed fraud in previous predatory network marketing ventures that
were operated out of Eastern Europe and Asia.

4. During my investigation, if found that there was no proof that
OneCoin had any existing blockchain, no white paper, nor proof of used
technology and parameters Without these, OneCoin could not be considered a
cryptocurrency.

5. OneCoin sells financial education packages, and with these packages
investors are given “tokens” which can be assigned to mine OneCoin
cryptocurrency. The educational packages themselves are merely information
copied form the internet, and the lure is the alleged cryptocurrency.

6. OneCoin claims their so-called cryptocurrency has a value exceeding
15 Euros/coin, yet it is not tradeable on any marketplace recognized by both
private individuals or the Cryptocurrency community.

7. OneCoin’s main income seems to come from recruiting, not from any
products it sells. Investors get 10% of packages they sell to new investors, so the
incentive is to profit from getting new investors, as there is no financial benefit
from OneCoin’s packages or “cryptocurrency.” Then those new investors have to
seek other investors, and so forth.

8. I am familiar with governmental actions that have been taken against

OneCoin, below are some of them:

3
DECLARATION OF TOMMY HOGBACK IN SUPPORT OF TIMOTHY GLEN CURRY’S
OPPOSITION TO PLAINITFF’S MOTION FOR PRELIMINARY INJUNCTION

 

 

 

Case E

10

11

19
20
21
22
23
24
25
26
21

23

 

scheme.

 

17-cv-00608-.]LS-KES Document 35 Filed 11/13/17 Page 4 of 5 Page |D #:252

4 .
DECLARATION 5[+" TOMMY HOGBACK IN SUPPORT OF TIMOTHY GLEN CURRY’S

a. The Italian government has declared OneCoin a pyramid, or
“Ponzi” scheme, and fined OneCoin 2.5 million Euros. OneCoin is
banned in Italy.

b. Germany issued a cease and desist order against OneCoin affiliated-
holding companies, ordering them to dismantle their OneCoin
trading systems and to end all sales promotion activities involving
OneCoin,

c. In Hungary, the Central Bank issued a warning that OneCoin was a
pyramid scheme.

d. In India, Ruja Ignatova has been charged with duping investors.

e. Here in Finland, two leaders of OneCoin, P. Blom and K. Sundvik,
are awaiting trial on charges of fraud, taxation fraud, and
money laundering arising out of their running of OneCoin in
Finland.

Based on the above, OneCoin should be considered a pyramid

OPPOSITION TO PLAINITFF’S MOTION FOR PRELIMINARY lNJUNCTION

 

Case 8:1"-cV-00608-.]LS-KES Document 35 Filed 11/13/17 Page 5 of5 Page |D #:253 .

 

 

1 I declare under penalty of perjury under the laws of the State of California
2
3 that the foregoing is true and correct. Executed in limeng , Finland, on
4 November _1@_, 2017.
5
6 /"1 n _ z j
/@,/11/1<.7 4'//¢)¢7¢/@¢ 1
7
g Tommy Hogba<}:k
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
__ 5 _____________-____________
DECLARATIQN or revva HoosAci< 11~1 suPPoRT or rlmowv GLEN cuzzm~s
0PP0$1T10N To PLAlNlTFF's MoTloN FoR PRELlMlNARv 1NJuNcT10N

 

 

 

